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                                UNITED STATES DISTRICT COURT
                                 DISTRICT OF NORTH DAKOTA
                                     WESTERN DIVISION

Dr. Fiona Axelsson,                                    Case No.: 3:22-cv-00056
                                Plaintiff,

             vs.
                                                        Plaintiff and Defendant North Dakota
University of North Dakota School of Medicine            Professional Health Program’s Joint
and Health Sciences; Sanford; Sanford Health;               Motion for Order of Dismissal
and North Dakota Professional Health Program,

                                Defendants.


[1]    Pursuant to Rule 41(a)(1)(B)(2) of the Federal Rules Civil Procedure, Plaintiff and

Defendant North Dakota Professional Health Program (NDPHP) hereby move this Court for an

Order dismissing any and all claims alleged against NDPHP in Plaintiff’s Amended Complaint

consistent with the Stipulation of Dismissal with Prejudice that accompanies this motion. The basis

for the motion is as follows:

                                        LAW AND ARGUMENT

[2]    Plaintiff and Defendant NDPHP have agreed to dismiss with prejudice any and all claims

against NDPHP that were raised or which could have been raised in the lawsuit, along with

Plaintiff and NDPHP further agreeing to each bear their own costs, expenses, and attorney fees

incurred herein. The Stipulation does not affect Plaintiff’s claims against Defendant University of

North Dakota School of Medicine and Health Sciences or Defendant Sanford and Sanford Health.

[3]    Consistent with Rule 41(a)(1)(A)(ii), Fed. R. Civ. P., the Stipulation of Dismissal was

presented to counsel for Defendants UND and Sanford, neither of which, and for reasons

unexplained, has authorized their signature on the Stipulation. There are no counterclaims, cross

claims, or third party claims that would preclude the dismissal agreed-to between Plaintiff and

Defendant NDPHP.
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[4]    Accordingly, Plaintiff and Defendant NDPHP respectfully request the Court issue an order

of dismissal with prejudice under Rule 41(a)(1)(B)(2), Fed. R. Civ. P. and on the terms consistent

with these parties’ Stipulation of Dismissal.



       Dated this 11th day of April, 2023.          FIEBIGER LAW, LLC


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       Dated this 11th day of April, 2023.          MEAGHER & GEER, PLLP


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                                     Certificate of Service

       I certify that on April 11, 2023, the foregoing document was filed electronically with the
Clerk of Court through ECF and that ECF will send a Notice of Electronic Filing (NEF) to the
following:

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       Dated this 11th day of April, 2023.


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